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                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

TV TOKYO CORPORATION,

     Plaintiff,                                                      Case No.: 1:24-cv-07655

v.                                                                   Judge Lindsay C. Jenkins

THE PARTNERSHIPS AND UNINCORPORATED                                  Magistrate Judge Jeffrey Cole
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

     Defendants.

                                    NOTICE OF DISMISSAL

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                  NO.                                   DEFENDANT
                    5                                    CCZ Home
                   24                                 HONGXIN STORE
                   86                                  LONGRUNDUO


DATED: October 16, 2024                               Respectfully submitted,

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt (Bar No. 6207971)
                                                      Keith Vogt, Ltd.
                                                      33 W. Jackson Blvd., #2W
                                                      Chicago, Illinois 60604
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                                                      E-mail: keith@vogtip.com

                                                      ATTORNEY FOR PLAINTIFF
    Case: 1:24-cv-07655 Document #: 40 Filed: 10/16/24 Page 2 of 2 PageID #:1216




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on October 16, 2024 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
